

Easton v M.A. Mortenson Co. (2018 NY Slip Op 04251)





Easton v M.A. Mortenson Co.


2018 NY Slip Op 04251


Decided on June 8, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, NEMOYER, AND WINSLOW, JJ.


830 CA 17-01010

[*1]ALFRED E. EASTON, JR., AND JANET EASTON, PLAINTIFFS-APPELLANTS,
vM.A. MORTENSON COMPANY, MODERN MOSAIC LIMITED AND HARBORCENTER DEVELOPMENT, LLC, DEFENDANTS-RESPONDENTS.
M.A. MORTENSON COMPANY, ET AL., THIRD-PARTY PLAINTIFFS,
vPRECAST SERVICES INC., THIRD-PARTY DEFENDANT-RESPONDENT. (APPEAL NO. 2.) 






MAXWELL MURPHY, LLC, BUFFALO (JOHN F. MAXWELL OF COUNSEL), FOR PLAINTIFFS-APPELLANTS.
HURWITZ &amp; FINE, P.C., BUFFALO (DAVID R. ADAMS OF COUNSEL), FOR DEFENDANTS-RESPONDENTS AND THIRD-PARTY PLAINTIFFS. 
RUPP BAASE PFALZGRAF CUNNINGHAM LLC, BUFFALO (CORY J. WEBER OF COUNSEL), FOR THIRD-PARTY DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Mark J. Grisanti, A.J.), entered April 3, 2017. The order, inter alia, denied the motion of plaintiffs for partial summary judgment on liability. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on May 22, 2018,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: June 8, 2018
Mark W. Bennett
Clerk of the Court








